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NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JE RSEY

 

HOUND PARTNERS OFFSHORE FUND,
LP, HOUND PARTNERS LONG MASTER,
LP, and HOUND PARTNERS

CONCENTRATED MASTER, LP, Civil Action No. 18-8705 (MAS) (LHG)
Plaintiffs,
MEMORANDUM ()PINION
V.

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., et al.,

Defendants.

 

 

SHIPP, District Judge
This matter comes before the Coud on six partial motions to dismiss filed in the above

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matter Plainf:iffs2 opposed (ECF No. 129) and Defendants, except Pearson, replied (ECF Nos.

 

l The motions currently pending before the Court are:

l. Partial Motion To Disrniss by Valeant Pharrnaceuticals International, Inc. (“Valeant”),
Robert L. Rosiello (“Rosiello”), Ari S. Kellen (“Kellen”), Robert Ingram, Ronald Farrner,
Colleen Goggins, Theo Melas-Kyriazi, Anders Lonner, Robert PoWer, Norma Provencio,
Katharine B. Stevenson, Deutsohe Bank Securities Inc. (“Deutsche Banl<”), HSBC
Seeurities (USA) Inc. (“HSBC”), MUFG Securities Arnericas Inc. (“MUFG”), DNB
Markets Inc. (“DNB”), Barelays Capital lnc. (“Barclays”), Morgan Stanley & Co. LLC
(“Morgan Stanley”), RBC Capital Marl<ets, LL(` (“RBC”), and SunTrust Robinson
Hurnphrey, Ino. (“SunTrust”) (Deutsche Banl<, HSBC, MUFG, DNB, Barclays, Morgan
Stanley and SunTrust, collectively, “Underwriter Defendants”) (ECF No. 103).

2. Par£ial Motion to Dismiss by PricewaterliouseCoopers LLP (“PricewaterhouseCoopers” or

“PWC") (ECF No. lOl).

Partial Motion to Dismiss by Howard B. Schiller (“Scliiller”) (ECF No. 102).
Partial Motion to Disiniss by Tanya Carro (“Carro”) (ECF No. 104).

Partial Motion to Dismiss by J. Michael Pearson (“Pearson”) (ECF No. 105).
Partial Motion to Dismiss by Deborah Jorn (“Jorn”) (ECF No. 106).

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2 Plaintiffs are Hound Partners Offshore Fund, LP, Hound Partners Long l\/Iaster, LP, and Hound
Par“cners Concentrated l\/Iaster, LP (collectively, “I-Iound Partners”).

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141, 142, 143, 144, and 145). The Court has carefully considered the parties’ submissions and
decides the matter Without oral argument pursuant to Local Civil Rule 78.1. For the reasons set
forth below, the Underwriter Defendants’ Motion to Dismiss Count VIII is granted, PWC’s Motion
to Dismiss is granted, and all other motions are denied.
I. Background

This case and the underlying claims arise out of the same facts and circumstances as the
class action currently pending before the Court under docket number 15-7658 (“Class Action”).
The Court assumes the parties’ familiarity With the underlying facts and recites the facts only to
the extent necessary to decide the instant motions

Plaintiffs allege that Valeant and certain executives namely, Pearson,3 Schiller,4 Rosiello,5
Jorn,6 Carro,7 and Kellen,8 (collectively, “Management Det`endants”), eight members of Valeant’s-

Board of Directors9 (collectively, “Director Defendants”), Valeant’s auditor, PWC, and Valeant’s

 

3 Pearson served as Valeant’s CEO and a director of the company from 2008 through May 3, 2016,
and Chairman of the Board of Directors from March 201 l to January 2016. (Compl. 11 24, ECF
No. 1.)

4 Schiller served as Valeant’s CFO and as an Executive Vice President (“EVP”) from December
2011 to June 30, 2015. Schiller was also a member of Valeant’s Board of Directors from

September 2012 until June 2016. (Id. 11 25.)

5 Rosiello served as Valeant’s CFO and as an EVP beginning in .luly 2015 until he stepped down
on December 31, 2016. (Ia'. 11 26.)

6 Jorn Was a Valeant EVP and Company Group Chairman from August 2013 through her departure
on March 2, 2016. (Id. 11 27.)

7 Carro served as Valeant’s Corporate Controller. (Id. 11 28.)
3 Kellen served as a Valeant EVP and Company Group Chairman since January 1, 2014. ([d. 11 29.)
" The Complaint names the following eight members of Valeant’s Board of Directors as

Defendants: Norma Provencio, Katherine B. Stevenson, Theo Melas-Kyriazi, Robert A. lngram,
Ronald H. Farmer, Colleen Goggins, Anders Lonner, and Robert N. Power.

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bank underwriters, the UnderWriter Defendants (as previously defined), participated in a “massive
fraud” to deceive investors Specifically, the Complaint alleges that Valeant and the Management
Defendants made “numerous materially misleading and untrue statements” (Compl. 11 10, EC-F
No. 1), hid the truth about certain “unlanul and deceptive practices” (1'd. 1111 7-9), and continued
to “minimize[] and obfuscate[]” the truth even as the reality of Valeant’s conduct began to emerge
(i'd. 1111 1 1-12). Plaintiffs allege that Defendants’ conduct caused the company’s shares to plummet,
resulting in significant financial losses to Plaintiffs. (Compl. 1111 13-15, ECF No. l.)

Plaintiffs bring claims for violations of: (I) Section 10(b) of the Exchange Act, 15 U.S.C.
§ 78j(b) and Rule 10b-5 promulgated thereunder (“Section 10(1))”) against Valeant and the
Management Defendants; (11) Section 18(a) of the Exchange Act, 15 U.S.C. § 78r (“Section 18”),
against Valeant, Pearson, Schiller, and Rosiello; (III) Section 20(a) of the Exchange Act, 15 U.S.C.
§ 78t(a) (“Section 20(a)”), against Valeant, Pearson, Schiller, and Rosiello; (IV) common law
fraud/fraudulent inducement against Valeant and the Management Defendants; (V) negligent
misrepresentation against Valeant and the Management Defendants; (VI) Section 11 of the
Securities Act, 15 U.S.C. § 77k (“Section 11”), against Valeant, Pearson, Schiller, the Director
Defendants, PWC, and the Underwriter Defendants; (Vll) Section 12(a)(2) of the Securities Act,
15 U.S.C. § 77(a)(2) (“Section 12”) against Valeant, Pearson, Schiller, and the Underwriter
Defendants; (VIH) Section 15 of the Securities Act, 15 U.S.C. § 77k (“Section 15"), against
Valeant, Pearson, and Schiller', (IX) Racketeering in Violation of N.J.S.A. § 2C:41-1(c) against
Valeant, the Management Defendants, and PWC; (X) Racketeering Conspiracy in Violation of

N.J.S.A. § 2C;41-2(d) against Valeant, the Management Det`endants and PWC', and (XI) aiding and

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abetting in violation of N.J.S.A. § 2C:41-2(c) and (d) against Valeant, the Managenient
Defendants, and PwC.10 (See Compl.)

PwC moves to dismiss Count VI in part, and Counts IX, X, and Xl in their entirety. (PwC’s
Moving Br. 1, ECF No. 101 .) Valeant, the Management Defendants, the Director Defendants, and
the Underwriter Defendants, collectively move to dismiss Counts ll, IV, V, IX, X, and XI of the
Complaint with prejudice and Counts VI and VIII in part. (Valeant, Management, Director, and
Underwriter Defs.’ l\/loving Br. 1, ECF No. 103; Schiller’s l\/Ioving Br. 2, ECF No. 102; Pearson’s
Notice of Mot., ECF No. 105.)ll Individually, Carro and Jom move to dismiss the same counts,

l except Counts VI and VIII, which Plaintiffs have not alleged against them. (Carro’s Notice of
Mot., ECF No. 104; .lorn’s Notice ofl\/[ot., ECF No. 106.)
II. Legal Standard

When analyzing a Rule 12(b)(6) motion, district courts conduct a three-part analysisl First,
the court must “tal<[e] note of the elements a plaintiff must plead to state a claim.” Ashcrofr v.
Iqbaf, 556 U.S. 662, 675 (2009). Second, the court must accept as true all of a plaintiffs
well-pleaded factual allegations and construe the complaint in the light most favorable to the
plaintiff Fowler v. UPMC Shadysia’e, 578 F.3d 203, 210 (3d Cir. 2009). The courtJ however,
must disregard any conclusory allegations proffered in the complaint Id. at 210-11. Finally, the
court must determine whether the “facts alleged in the complaint are sufficient to show that the

plaintiff has a ‘plausible claim for relief.”’ Ia'. at 211 (quoting Iqbal, 556 U.S. at 679).

 

10 Counts IX, X, and XI are for alleged violations of New Jcrsey’s Racketeering Statute, or “N.J.
RICO.”

l ' Valeant, the Management Defendants, the Director Defendants, and the Underwriter Defendants

jointly submitted a single moving brief and a single reply brief. (ECF No, 103.) For ease of
reference, these documents will be cited as “Valeant’s Moving Br." and “Valeant’s Reply Br.,”
respectively Schiller, Carro, and Jom submitted their own briefing (ECF Nos. 102, 104, and 106),
and Pearson relied on Valeant’s briefing (ECF No. 105).

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Plaintiffs seeking redress for fraud, however, must meet a heightened pleading standard by
“stat[ing] with particularity the circumstances constituting fraud . . . .” Fed. R. Civ. P. 9(b). “A
plaintiff alleging fraud must therefore support its allegations ‘with all of the essential factual
background that would accompany the first paragraph of any newspaper storydthat is, the who,
what, when, where and how of the events at issue.”’ U.S. ex rel. Moore & Co., P.A. v. Majesn'c
Blue Fisherz`es, LLC, 812 F.3d 294, 307 (3d Cir. 2016) (quoting fn re Rockej%ller Cir. Props., Inc.
Sec. Li'n'g., 311 F.3d 198, 217 (3d Cir. 2002)).

In addition, claims that allege federal securities violations must satisfy the Private
Securities Litigation Reform Act (“PSLRA”). The PSLRA requires that a securities fraud
complaint “specify each statement alleged to have been misleading, the reason or reasons why the
statement is misleading and, if an allegation regarding the statement or omission is made on
information and belief, the complaint shall state with particularity all facts on which that belief is
forrned.” OFIAsset Mgmt. v. Cooper Tire & Rubber, 834 F.3d 481, 490 (3d Cir. 2016) (quoting
1a re Suprema Specz'altc'es, Inc., 438 F.3d 256, 276 n.8 (3d Cir. 2006)).

III. Discussion

In Lom' Abbetr Investmenr Trust-Lord Abbett Shoi't Durarz'on Income Frma’ v. Valeanr
Pharmaceuti'cals Inrernarional, Inc., Civ. NO 17-6365, 2018 WL 3637514 (D.N.J. July 31, 2018)
(“Lord Abbetr”), a case arising from the same facts and alleged fraud as the instant action, this
Court considered motions to dismiss similar claims against Valeant, the Management Defendants,
and PwC. Several of the motions here mirror the issues raised in Lom' Abbetf. Where applicable,
therefore, the Court will apply the same reasoning To the extent the motions mirror those in Lord
Abbert, the Court refers the parties to the detailed l\/lemorandum Opinion it issued in Lord Abbetr.

Where the issues or arguments diverge, however, the Court analyzes the issues in depth here.

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A. The Securities Litigation Uniform Standards Act (“SLUSA”)

As an initial matter, the Court must decide whether the Securities Litigation Standards Act
(“SLUSA”) preempts Plaintiffs’ New Jersey common law claims12 SLUSA provides, in relevant
part, as follows:

[n]o covered class action based upon the statutory or common law of any State or

subdivision thereof may be maintained in any State or Federal court by any private

party alleging-(A) a misrepresentation or omission of a material fact in connection

with the purchase or sale of a covered security; or (B) that the defendant used or

employed any manipulative or deceptive device or contrivance in connection with

the purchase or sale of a covered securityl
15 U.S.C.A. § 78bb(f)(1)(A)-(B). The Supreme Court has determined that Congress intended
SLUSA to be expansive based on “[t]he magnitude of the federal interest in protecting the integrity
and efficient operation of the market for nationally traded securities . . . .” Merrr'll Lynch, Pierce,
Fenner & Smi'rh Inc. v. Dabz`r, 547 U.S. 71, 78 (2006). In addressing the scope of SLUSA, the
Supreme Court also found that the statute’s preemption provision applies broadly. Id. at 74 (“The
background, the text, and the purpose of SLUSA’s pre-emption provision all support the broader
interpretation . . . .”).

The parties agree that to determine whether SLUSA preempts Plaintiffs’ state law claims,
the Court must first rule on whether Plaintiffs are a “covered class” pursuant to the statute. SLUSA
provides that a “covered class action,” includes, in relevant part, “any group of lawsuits filed in or
pending in the same court and involving common questions of law or fact, in which (I) damages

arel sought on behalf of more than 50 persons; and (Il) the lawsuits are joined, consolidated, or

otherwise proceed as a single action for any purpose.” 15 U.S.C. § 78bb(t)(5)_(B)(ii). The parties

 

12 Hound Partners alleges five state law claims: Count IV (common law fraud/fraudulent
inducement), Count V (negligent misrepresentation), Counts IX (Racketeering in Violation of
N.J.S.A. § 2C:41-2(c)), Count X (Racketeering Conspiracy in Violation ofN.J.S.A. § 2C:41-2(d))1
and Count XI (aiding and abetting).

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agree that the relevant inquiry here is whether the actions “otherwise proceed as a single action for
any purpose.”

Defendants argue that, “this action is one of twenty-eight13 opt-out suits before this Court
alleging, as the Class Action alleges, that Valeant made material misrepresentations or omissions
about Philidor and related matters in violation of the Exchange Act.” (Valeant’s Moving Br. 8.)
Defendants argue that “virtually every allegedly false or misleading statement identified in these
cases is at issue in the Class Action.” (Id.) Defendants argue that “[t]his action is no different
than any of the other opt[-]out cases” and that Judge Cote, in transferring the case to this District,
“recognized these coordination efforts and held that transfer was warranted so that it could proceed
as ‘part of the coordinated group of cases’ already pending in this District.” (ld. at 9; Valeant’s
Reply Br. 3, ECF No. 142.)

Plaintiffs vigorously contest that they are proceeding in any way collectively with the other
actions so as to make them a “covered class.” (Pls.’ Opp’n Br. 13-16, ECF No. 129.) Plaintiffs
argue that they have undertaken every possible effort to avoid coordination with all other plaintiff
groups that have brought actions arising out ofthe same alleged Valeant fraud scheme, specifically
that they: (l) filed in another district; (2) opposed transfer to the district of New Jersey “precisely
because of SLUSA”; (3) immediately, after the case Was transferred, “requested that the Court
avoid any coordination”; (4) “declined to participate in case scheduling discussions and discovery
correspondence jointly submitted by the parties to the Other Valeant Actions”; and (5) “opposed
all coordination in discovery.” (Id. at 13-14.) Plaintiffs argue that “forced coordination under the

circumstances here . . . would epitomize prejudice and undermine the interests ofjustice." (Ici`. at

 

'3 ln the time since the moving brief was filed, the number of opt-out actions pending before the
Undersigned has increased to 30.

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18.) According to Plaintiffs, if the Court were to find SLUSA preemption, “it would establish a
rule that effectively bars state law claims brought by individual plaintiffs whenever a similar class
action is filed, even in situations (like this one) where the plaintiffs take every conceivable step to
avoid the benefits of coordination.” (Id. at 18-19.) In other words, Plaintiffs argue that the Court
would “strip individual plaintiffs of an ability to choose whether to proceed as a ‘covered class
action’ by accepting the benefits of such coordination and forgo their state law claims, or to forgo
such benefits . . . in order to preserve their state law claims"’ (Id. at 19.)

In response, Defendants reiterate that this matter is no different than the other opt-out
actions and argue that Plaintiffs should not “be rewarded for remsing to cooperate with case
management efforts thus far.” (Defs.’ Reply Br. 3.) Defendants argue that “[o]pening the door for
Plaintiffs to avoid SLUSA by unilaterally declining to participate in routine case management
efforts will ensure duplicative proceedings before this Court and incentivize other parties to
similarly frustrate attempts to increase judicial economy.” ([a’. at 4.)

The Court agrees with Defendantsl In keeping with the Supreme Court’s interpretation of
SLUSA’s expansive preemptive reach, the Court finds that. despite Plaintiffs’ “affirmative steps
to avoid coordination,” this is a covered class action for purposes of SLUSA. In fact, the only
reason that this case is currently pending before this Court is because Judge Cote transferred it
here for the sole reason that it should be managed with the other actions If the other actions Were
not already pending here, Plaintiffs also would not be before this Court. Upon transfer, therefore,
the case joined the other actions pending before the Undersigned in “otherwise proceed[ing] as a
single action.” Plaintiffs’ objections to the transfer do not change this conclusion Plaintiffs

recognized this risk and articulated these concerns to Judge Cote, who nevertheless found that the

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action was more appropriately managed with the actions already pending in the District of New
Jersey.

Each party points out the other party’s lack of case law directly addressing whether
affirmative steps to avoid coordination will defeat SLUSA preemption (Defs.’ Reply Br. 3-5;
Pls.’ Opp’n Br. 13-19.) The Court is unaware of any case that holds that a party’s objections to
coordination make the coordination inapplicable for purposes of SLUSA. While the Court
recognizes that Plaintiffs have taken affirmative steps to avoid and object to the coordination, this
does not change the reality of the situation Plaintiffs’ action is centered on the same allegations
that form the foundation of the Class Action and at least thirty other opt-out actions all consolidated
before the Undersigned and the same Magistrate Judge. ln fact, the reason Plaintiffs are here is
for management with the other actions The cases are all focused on the same alleged fraudulent
scheme and involve the same factual and legal issues The cases will be subject to overlapping
orders from the Court and will undoubtedly encounter the same discovery concerns The Court,
therefore, finds that the cases “otherwise proceed as a single action” to be considered a “covered
class action” for purposes of SLUSA, despite Plaintiffs objections’ to the coordination

lmportantly, SLUSA preemption is only as to the procedural aspect of the claims
“SLUSA does not actually pre-empt any state cause of action lt simply denies plaintiffs the right
to use the class-action device to vindicate certain claims The Act does not deny any individual
plaintiff, or indeed any group of fewer than 50 plaintiffs the right to enforce any state-law cause
of action that may exist.” Dabft, 547 U.S. at 87. Plaintiffs, therefore, are not losing any substantive
right The “prejudice” to Plaintiffs in allowing Court-imposed coordination to trigger SLUSA,
therefore, is minimal While the Court recognizes Plaintiffs cited a case from the Southern District

of New York that found, under the circumstances at issue in that case, re-filing in state court would

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cause plaintiffs to suffer further prejudice because they “would be forced to ‘litigate any statute-
of-limitations and tolling issues”’ Li'berly Meo'i`a Corp. v. liveno'i` Unz`versal, 842 F. Supp. 2d 587,
593 (S.D.N.Y. 2012), the Court here is not persuaded that this potential “prejudice" is enough to
overcome the broad preemptory effect of SLUSA. lmportantly, in Liberty Media, the case was at
a very different procedural position ln 2012, the Libertj' Medfa court was reviewing an order
issued in 2009, on a case filed in 2003. (Id.) The prejudice analysis, therefore, was much
differentl 14

Policy considerations further support this outcome. To find for Plaintiffs on this issue
because they filed in another district, opposed the transfer, and refused to participate in certain
conferences would create a loophole in SLUSA that would incentivize opt-out plaintiffs to object
to every act of judicial efficiency that could eventually lead to a finding that the matter is a
“covered class action.” Not only would this have an unintended effect on the claims of some

plaintiffs it would result in immense judicial inefficiency.[5 The Court, therefore, finds that

 

14 Further, in Liberty Mea’z'a, the SLUSA issue was not considered by the court at the time that the
initial order was entered. Lt'berty Meo'ia Corp., 842 F. Supp. 2d at 590. Here, Judge Cote was
fully aware of the SLUSA issue as it was a main point of contention raised by the parties in
connection with the motion to transfer.

l§ Similarly, in the same spirit of broad SLUSA preemption courts have rejected attempts to
end-run SLUSA with artful pleading See, e.g., fn re Kingate Mgmt. Ltd. Li`ti`g., 784 F.3d 128, 140
(2d Cir. 2015)(citing1n re Hemlcf, 730 F.3d 112, 119 (2d Cir. 2013) (“[W]e agree with the district
court that, even though the complaints do not style their claims . . . as securities fraud claims, the
complaints’ allegations nonetheless are precluded by SLUSA. Since SLUSA requires our attention
to both the pleadings and the realities underlying the claims, plaintiffs cannot avoid SLUSA merely
by consciously omitting references to securities or to the federal securities law." (alteration in
original) (internal quotation marks omitted))); Atkinson v. Morgon Asset Mgmt., [nc., 658 F.3d
549, 555 (6th Cir. 2011) (“In deciding whether SLUSA applies we review the substance of a
complaint’s allegations and claimants cannot avoid its application through artful pleading that
removes the covered words . . . but leaves in the covered concepts.” (alteration in original) (intemal
quotation marks omitted)); Segol i». Ft'frh Thi'rd Bank, N.A_, 581 F.3d 305, 311 (6th Cir. 2009)
(claimant cannot avoid SLUSA through artful pleading that eliminates the covered words but
retains the covered concepts); Rowinskf v. Salomon Smr`rh Brn'ney Inc., 398 F.3d 294, 304 (3d Cir.

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SLUSA preempts Plaintiffs’ state law statutory16 and common law claims Defendants’ motions
to dismiss on these counts, therefore, are granted

B. Section 18 Claim

Valeant, Pearson, Schiller and Rosiello move to dismiss the Section 18 claim as
time-barred Section 18 of the Exchange Act states that an underlying action may only be brought
“within one year after the discovery of the facts constituting the cause of action.” 15 U.S.C.
§ 78r(c). In 2002, Congress enacted the Sarbanes Oxley Act of 2002 (“SOX”), which provides a
two-year statute of limitations and five-year statute of repose for private rights of action involving
claims of “fraud, deceit, manipulation or contrivance in contravention of a regulatory requirement
concerning the securities laws . . . of the Securities Exchange Act of 1934.” 28 U.S.C. § 1658(b).
Plaintiffs filed their Complaint on January 4, 2018, for purchases of Valeant common stock that
occurred between January 4, 2013 and March 14, 2016. (Compl. 11 l, ECF No. l.)

The Valeant Defendants argue that under Section 181 Plaintiffs had one year from the date

that the alleged fraud was revealed to file the instant action, but that they filed more than eighteen

 

2005) (“SLUSA stands as an express exception to the well-pleaded complaint rule, and its
preemptive force cannot be circumvented by artiiil drafting."). ln the same way that courts have
not permitted plaintiffs to plead their way around SLUSA preemption, the Court refuses to let
Plaintiffs procedurally maneuver around SLUSA preemption by raising objections to acts of
judicial efficiency even when Plaintiffs were transferred to this District for purposes of coordinated
case management

16 Defendants in this action argued that SLUSA preempts the statutory (N.J. RICO) and common
law claims (Valeant’s Moving Br. 11.) Plaintiffs’ opposition brief did not provide any authority
for the proposition that the N.J. RICO claims should be treated differently than the common law
claims (See Pls.’ Opp’n Br.) The only authority provided by either party specific to the N.J.
RICO issue is a case from the Southem District of New York, finding SLUSA preemption
appropriate as to all state law claims, including N.J. RICO. (Valeant’s Moving Br. ll (citing
Frz'edman v. JPMorgon Chrise & Co., No. 15-CV-5899 (JGK), 2016 WL 2903273, at * 14-15
(S.D.N.Y. May 18, 2016).) The Court, therefore, sees no reason to differentiate between the N.J.
RICO claims and the state common law claims on the issue of SLUSA preemption In fact, the
text of SLUSA specifically refers to state statutory claims

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months after that date. (Defs.’ Moving Br. 23.) Plaintiffs respond that SOX applies to and
increases the limitations period of Section 18 and, therefore, the claims are timely because the
Complaint was filed within two years of when a Section 18 violation was discovered (Pls.’ Opp’n
Br. 42, ECF No. 129.)

ln LordAbbett, this Court considered this issue and adopted the Second Circuit’s ruling in
Dekolb Countj) Pensz'on thd v. Tmnsocean Ltd., 817 F.3d 393, 407 (2d Cir. 2016). Specifically,
the Court found that SOX’s expanded limitations provision applies to Section 18 claims Lom'
Abbett]nvestment Trnst, 2018 WL 363 75 14, at *8. The Court, therefore, finds that the claims here
are timely and Defendants’ motion to dismiss the Section 18 claims as time-barred is, accordingly,
denied

C. Section 11 and Section 15 Claims

PWC, Valeant, Management Defendants, Director Defendants, and Underwriter
Defendants all move to dismiss Plaintiffs’ Section 11 and 15 claims.]? Section 11 provides that
“a private action for damages may be brought ‘by any person acquiring such security’ if a
registration statement, as of its effective date: (1) ‘contained an untrue statement of material fact’;
(2) ‘omitted to state a material fact required to be stated therein’; or (3) omitted to state a material
fact ‘necessary to make the statements therein not misleading.”’ fn re Supreme Specfalties, Inc.,
438 F.3d 256, 269 (3d Cir. 2006) (quoting 15 U.S.C. § 77k(a)) (internal quotations and citations
omitted). The Supreme Court has explained that Section 11 “was designed to assure compliance

with the disclosure provisions of the [Securities] Act by imposing a stringent standard of liability

 

'7 Sections l l and 15 of the Securities Act are both based on the same underlying statute, 15 U.S.C.
§ 77k. Section 15 extends liability to control persons for civil claims under Section 1 l. Plaintiffs
allege that Valeant, Pearson, and Schiller violated Section 15 as “control persons.” (Compl.
1111 544-48.)

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on the parties who play a direct role in a registered offering.” Herman & MctcLean v. Huddleston,
459 U.S. 375, 381-82 (1983) (footnotes omitted). The rule, thus allows for a cause of action
against “the issuer of securities its directors or partners underwriters and accountants who
prepared or certified the registration statement.” fn re Supreme Specialties 438 F.3d at 269 (citing
Huddlesron, 459 U.S. at 382 n.13).

Defendants argue for dismissal of the Section 11 and 15 claims “to the extent Plaintiffs
seek damages attributable to the purchase of shares of Valeant common stock over and above the
268,175 shares they allegedly bought in the Stock Offering." (Valeant’s Moving Br. 21 -22; PwC’s
Reply Br. 10, ECF No. 141.) That is, Defendants allege that Plaintiffs may not bring Section 11
claims for Valeant stock acquired on the secondary market unless those purchases are traceable
to the allegedly false registration statements at issue. (Id.) Plaintiffs respond that a specific
showing of traceability is not required at the pleading stage. (Pls’ Opp’n Br. 41-42.)

The Third Circuit has held that where plaintiffs assert that they purchased stock pursuant
to a registration statement, they have sufficiently plead a cause of action under Section 11. fn re
Supreme Speci`aln'es, Inc., 438 F.3d at 274 n.7 (“We . . . hold that plaintiffs’ assertions of purchases
‘in’ and ‘traceable to’ the Suprema stock offerings were sufficient at the pleading stage [to
maintain a Section 11 claim],”) The Complaint alleges that Plaintiffs seek redress for “damages
they incurred in connection with purchases of Valeant common stock traceable to the Stock
Offering.” (Compl. 11 520.) The Court, therefore, finds Plaintiffs’ Section 11 and 15 claims
sufficient to survive a motion to dismiss Whether Plaintiffs can trace the purchase of their shares
to a false or misleading registration statement is a factual inquiry that should be resolved through

discovery rather than at this early stage in the proceedings fn re Suprema Specz'alri`es, lirc., 438

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F.3d at 274 n.7. The Court, therefore, denies Defendants’ motion to dismiss the Sections 11 and

15 claims

IV. Conclusion

For the reasons set forth above, Valeant, the Management Defendants the Director
Defendants and the Underwriter Defendants’ motions to dismiss are DENIED in part and
GRANTED in part and PwC’s l\/lotion to Dismiss is DENIED in part and GRANTED in part

An Order consistent with this Memorandum Opinion will be entered.

s/ Michael A. Shipp
MICHAEL A. SHIPP
UNITED STATES DIsTRiCT JUI)GE

Dated: September 14, 2018

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